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      UNITED STATES COURT OF INTERNATIONAL TRADE

BEFORE: HON. M. MILLER BAKER, JUDGE
______________________________
JBF BAHRAIN W.L.L.,            :
as successor-in-interest to    :
     JBF Bahrain S.P.C.        :
                               :
           Plaintiff,          :
                               : Court No. 23-00067
     v.                        :
                               :
UNITED STATES,                 :
                               :
     Defendant.                :
______________________________ :

                       JOINT STATUS REPORT


     Pursuant to the Court’s order of February 10, 2025, ECF No. 40,

counsel for the parties have conferred regarding the progress of this

case toward settlement. We have continued to discuss the merits of this

case and have made progress toward a potential settlement. Further to

that, the following have occurred:

  1. The plaintiff has resolved technical issues and provided document

     production to the defendant. U.S. Customs and Border Protection

     (CBP) is reviewing the document production as well as the



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  information regarding the merchandise at issue that plaintiff

  previously provided.

2. CBP’s Laboratories and Scientific Services continue to examine

  representative samples of the raw materials, intermediate

  product, and imported product to determine whether the finished

  product meets the rules of origin requirements applicable under

  the U.S.-Bahrain Free Trade Agreement. The results of that

  analysis may inform CBP’s views on settlement.

As such, one of the parties will file a consent motion seeking an

amendment of the scheduling order to provide an additional 30 days




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in the schedule.

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